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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS

  In re Energy Transfer LP Derivative Litigation

                                                      Lead C.A. No. 3:19-cv-02890-X
         This Document Relates to:

                        ALL ACTIONS



                        STIPULATION [AND PROPOSED ORDER]

       WHEREAS, on December 7, 2019, Plaintiff Giuseppe Bettiol, derivatively and on behalf

of Energy Transfer LP (“Energy Transfer” or the “Company”) filed a Verified Unitholder

Derivative Complaint against Defendants Kelcy L. Warren, Thomas E. Long, John W.

McReynolds, Marshall S. McCrea, III, Matthew S. Ramsey, Steven R. Anderson, Richard D.

Brannon, Ray C. Davis, Michael K. Grimm, K. Rick Turner, Ray W. Washburne, and William P.

Williams (collectively, the “Individual Defendants”) and Defendant LE GP, LLC (“LE GP” or the

“General Partner,” and together with the Individual Defendants, the “Defendants”) in an action

captioned Bettiol v. Energy Transfer LP, et al., No. 3:19-cv-02890-X (N.D. Tex.) (the “Bettiol

Action”);

       WHEREAS, on March 25, 2020, Plaintiff Barry King (together with Plaintiff Bettiol,

“Plaintiffs”) filed a substantively similar derivative action captioned King v. Energy Transfer LP,

et al., No. 3:20-cv-00719-X (N.D. Tex.) (the “King Action”);

       WHEREAS, on June 18, 2020, the Court entered an order consolidating the Bettiol Action

with the King Action (the “Consolidated Derivative Action”);

       WHEREAS, on August 28, 2020, the Court entered an order appointing The Brown Law

Firm, P.C. as Lead Counsel for plaintiffs in the Consolidated Derivative Action and instructing the




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parties to file a second joint stipulation setting dates for an amended complaint and subsequent

briefing (the “August 28 Order”) in the Consolidated Derivative Action;

       WHEREAS, on September 8, 2020, Plaintiffs filed a Verified Consolidated Amended

Unitholder Derivative Complaint (“Consolidated Amended Complaint”);

       WHEREAS, also on September 8, 2020, the parties filed a stipulation setting dates for

subsequent briefing, which was approved in an order entered by the Court on September 9, 2020;

        WHEREAS, there is currently pending in the United States District Court for the Eastern

District of Pennsylvania a securities class action filed on January 10, 2020, styled Allegheny

County Employees’ Retirement System v. Energy Transfer LP, et al., No. 2:20-cv-00200-GAM

(E.D. Pa.) (the “Securities Class Action”) in which the defendants therein filed a motion to dismiss

on August 14, 2020;

       WHEREAS, the Securities Class Action and this Consolidated Derivative Action contain

overlapping allegations and name some of the same defendants;

       WHEREAS, in light of the similarities between this Consolidated Derivative Action and

the Securities Class Action, and in light of the motion to dismiss that the defendants filed in the

Securities Class Action, to conserve the parties’ and judicial resources and to promote “the just,

speedy, and inexpensive determination of [this] action,” Fed. R. Civ. P. 1, the parties to this

Consolidated Derivative Action (the “Parties”) agree that all proceedings and deadlines in this

Consolidated Derivative Action, including discovery and Defendants’ obligation to move, answer,

or respond to the Consolidated Amended Complaint, should be stayed pending resolution of the

motion to dismiss the amended complaint in the Securities Class Action;

       WHEREAS, the Parties agree that this Stipulation is made in full reservation of and without

waiver or prejudice of any rights, claims, objections, defenses, arguments, and motions whether in




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relation to the Consolidated Amended Complaint (or any subsequently filed amended complaint)

or otherwise, and whether procedural, substantive or otherwise, that any party may have.

       IT IS HEREBY STIPULATED AND AGREED by the Parties and their undersigned

counsel as follows:

       1.      The Consolidated Derivative Action shall be stayed until the entry of an order

denying the motion to dismiss the amended complaint in the Securities Class Action, or a final

order dismissing the Securities Class Action with prejudice;

       2.      Defendants shall promptly notify Plaintiffs of any related derivative lawsuits that

they become aware of;

       3.      Defendants shall promptly notify Plaintiffs if a related derivative action is not

stayed for a similar or longer duration, in which event, Plaintiffs may lift the agreed stay upon 10

business days’ notice in writing via email to counsel for Defendants.

       4.      Defendants shall promptly notify Plaintiffs in advance of any mediation to be held

in the Securities Class Action, and they shall promptly notify Plaintiffs in advance of any mediation

to be held in any related derivative lawsuit.

       5.      Defendants shall not object to including Plaintiffs in any mediation with the

plaintiffs in the Securities Class Action and shall not object to including Plaintiffs in any mediation

with any purported plaintiff in any related derivative lawsuit or any other related books and records

demand proceeding. If any other party objects to including Plaintiffs in any mediation, then

Defendants shall separately mediate with Plaintiffs at or about the same time upon Plaintiffs’

request;

       6.      During the pendency of the stay of the Consolidated Derivative Action, Plaintiffs

may file a Consolidated Second Amended Complaint; provided, however, that Defendants shall




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have no obligation to respond to such Consolidated Second Amended Complaint (or any

complaint) during the pendency of the stay;

       7.      Within 15 days after the occurrence of any of (1) the dismissal of the Securities

Class Action, with prejudice, by its court, and exhaustion of all appeals related thereto; or (2) the

denial of any motion to dismiss the Securities Class Action filed by the defendants in the Securities

Class Action; or (3) the lifting on this stay in accordance with Paragraph 3 of this Stipulation, the

Parties shall meet and confer and submit a proposed scheduling order governing further

proceedings in the Consolidated Derivative Action, including the date by which Defendants must

move, answer or otherwise respond to the then-operative complaint; and

       8.      All deadlines, hearings, or conferences currently scheduled shall be postponed until

the date and time that will be specified in the proposed scheduling order to be submitted by the

Parties, or as otherwise set by the Court.



SO ORDERED this ____ day of October 2020.


                                                     UNITED STATES DISTRICT JUDGE




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Respectfully submitted,



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